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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

                                              :
SHAMISO MASWOSWE                              :      Case No. 1:21-cv-00411
         Plaintiff,                           :      Judge Colleen Kollar-Kotelly
                                              :
v.                                            :
                                              :
MERRICK GARLAND                               :
         Defendant.                           :
                                              :

            PARTIES’ JOINT STATUS REPORT REGARDING MEDIATION

       The parties are engaged in ongoing settlement negotiations in this case through the

Court’s Mediation Program, under mediator David Clark. The parties are continuing to make

progress and appear to be close to a settlement. Given the posture of the negotiations, the parties

have conferred and jointly agree that the mediation period should be extended to and including

February 8, 2023. The parties will provide a Joint Status Report to the Court no later than

February 10, 2023. Mediator Clark supports this extension, which has been communicated to the

Court’s Mediation Program office.
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January 27, 2023                    Respectfully submitted,



                                    ____________________________________
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 27, 2023, I caused a copy of the foregoing Parties’ Joint
Status Report Regarding Mediation to be served on all parties of record via CM/ECF.

                                             /s/ Shanlon Wu             _
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